      Case: 1:21-cv-06546 Document #: 51 Filed: 05/23/22 Page 1 of 3 PageID #:484




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

 THE BOARD OF TRUSTEES OF THE
 UNIVERSITY OF ILLINOIS,

                        Plaintiff,
                                                       Case Number: 21-cv-06546
 v.
                                                       The Honorable John R. Blakey
 VINTAGE BRAND, LLC,

                        Defendant.

                    JOINT MOTION FOR CONFIDENTIALITY ORDER

        Plaintiff The Board of Trustees of the University of Illinois and Defendant Vintage Brand,

LLC jointly move for the entry of the proposed confidentiality order attached as Exhibit A. The

proposed confidentiality order is largely consistent with the model confidentiality order approved

by the Northern District of Illinois, but it also adds additional provisions allowing for an attorneys’

eyes only designation. A redlined copy showing the differences between the proposed order and

this District’s model confidentiality order is attached as Exhibit B.

        Each party will be served with discovery requests that call for the production of

confidential information, the disclosure of which could subject the parties to a disadvantage in the

absence of the restrictions set forth in the attached proposed order. The parties therefore request

that the Court enter the proposed order.

        Per the Court’s standing order, electronic copies of the proposed order will be sent to the

Court’s proposed order inbox.
   Case: 1:21-cv-06546 Document #: 51 Filed: 05/23/22 Page 2 of 3 PageID #:485



DATED: May 23, 2022

Respectfully submitted,

THE BOARD OF TRUSTEES FOR THE              VINTAGE BRAND, LLC
UNIVERSITY OF ILLINOIS

By: /s/ D. Richard Self                    By: /s/ Theresa H. Wang
  One of Its Attorneys                       One of Its Attorneys

Jeffrey J. Catalano                        Theresa H. Wang (pro hac vice)
Andrew L. Goldstein                        Joshua D. Harms (pro hac vice)
D. Richard Self
FREEBORN & PETERS LLP                      Leslie C. Vander Griend (pro hac vice)
311 South Wacker Drive                     STOKES LAWRENCE, P.S.
Suite 3000                                 1420 Fifth Avenue, Suite 3000
Chicago, IL 60606                          Seattle, Washington 98101
(312) 360-6000                             Tel: (206) 626-6000
Email: agoldstein@freeborn.com             Email: theresa.wang@stokeslaw.com
Email: jcatalano@freeborn.com              Email: joshua.harms@stokeslaw.com
Email: rself@freeborn.com                  Email: leslie.vandergriend@stokeslaw.com

                                           Richard D. Boonstra (No. 6185045)
                                           Todd Postma (No. 6339529)
                                           HOOGENDOORN & TALBOT LLP
                                           122 South Michigan Avenue, Suite 1220
                                           Chicago, Illinois 60603
                                           Tel: (312) 786-2250
                                           Email: rboonstra@htlaw.com
                                           Email: tpostma@htlaw.com




                                       2
    Case: 1:21-cv-06546 Document #: 51 Filed: 05/23/22 Page 3 of 3 PageID #:486




                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on the date shown below he caused the

foregoing document to be electronically filed with the Clerk for the U.S. District Court for the

Northern District of Illinois, which will send a notification and a copy of the document to all

counsel of record.

 Dated: May 23, 2022                               /s/ D. Richard Self




                                               3
